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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT HOLTON,                                       CIVIL ACTION
        Plaintiff,

      v.                                            N0.18-2228

BOBBY HENON, et al.,
        Defendants.

                                MEMORANDUM

I.    Introduction

      This suit arises from a long series of events involving the City of

Philadelphia's (the "City") condemnation of property in 1951 to create a right-of-

way for the Frankford Creek and lengthy litigation before both the City of

Philadelphia Licensing & Inspection Review Board and the Court of Common

Pleas of Philadelphia County. Plaintiff Robert Holton alleges that Defendants

Bobby Henon, Darin L. Gatti, Edward Jefferson, and the City (collectively, the

"Defendants") conspired to and did violate Plaintiffs Fifth Amendment rights.

Defendants moved to dismiss the Second Amended Complaint based in part on the

ground that the Court lacks subject matter jurisdiction over this matter. For the

reasons set forth below, Defendants' Motion to Dismiss Plaintiffs Second

Amended Complaint (ECF No. 21) will be granted.

II.   Background

      Plaintiff operated a scrap metal and automobile salvage business on a piece
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of property he purports to own and as described in the deed attached to Plaintiff's

Second Amended Complaint. ECF No.              21at~12     (Second Am. Compl.), Ex. B

(Deed). Plaintiff alleges that the property is "bounded by Richmond Street to the

west, Delaware Avenue to the east, Contrail to the south and Frankford Creek to

the north." Id.    at~   8. Plaintiff further alleges that at all relevant times, the

property "did not violate zoning ordinances" and that Plaintiff "had purchased and

paid for all necessary licenses and permits needed to carry on his business." Id. at

~   12.

          Plaintiff alleges that Defendants, through a series of improper actions,

"took" Plaintiff's property at the address identified without paying just

compensation and caused PECO to tum off Plaintiff's power and ultimately to

disconnect entirely. Id.     at~~   10 & 17. Moreover, Plaintiff alleges that on October

13, 2018, Defendant Gatti "caused the City of Philadelphia to relocate the lot lines,

change [Plaintiff]' s address and confine him to a small segment that is land-

locked." Id. As alleged in the Second Amended Complaint, Plaintiff was

ultimately removed from a portion of the land he claims he owns throughout the

underlying dispute, referred to as 4087 Richmond Street. Id. at ~ 17.

          On March 2, 2017, the City Department of Licenses & Inspections ("L&I")

inspected 4087 Richmond Street and issued a number of violations related to

Plaintiff's use of 4085 Richmond Street, including the lack of a use registration


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permit. ECF No. 25, Ex. H (Violation Notice). 1 Subsequently, L&I issued a

Notice of Intent to Cease Operations and Order, which was to take effect on April

12, 2017 unless the violations were rectified. Id., Ex. I (Notice of Intent to Cease

Operations Order). This notice, which identified the address in violation as 4087

Richmond Street, stated that "[i]f a Cease Operations is issued, your

business/property/establishment will be required to close, or that a portion or use of

the premise as specific in the Order will be forced to cease immediately." Id.

Plaintiff appealed the L&I violations to the L&I Review Board on April 3, 2017.

Id., Ex. J (Board of License and Inspection Review Findings of Fact and

Conclusions of Law).

      While Plaintiffs L&I Appeal was pending, he filed a state court action

seeking emergency relief on April 12, 2017. Id., Ex. L (Motion for Preliminary

Injunction). Plaintiff sought, by way of the preliminary injunction, to restrain L&I

from enforcing the Cease Operations Order pending review of the appeal by the

L&I Board. Id. After a hearing was held, the court denied Plaintiffs preliminary

injunction finding that the City had established that a "condition of immediate



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 All of the documents cited to by Defendants and relied upon by the Court are
matters of public record and their accuracy is not reasonably questioned as they
were all filed in either the L&I proceedings or state court proceedings. See
Southern Cross Overseas Agencies, Inc. v. Wah Kwong Shipping Group Ltd., 181
F.3d 410, 413 (3rd Cir. 1999) (taking judicial notice of an earlier court opinion as a
matter of public record).
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danger or hazard to health, safety or welfare which requires immediate

compliance" existed on the property. Id., Ex. N (State Court Docket). On July 25,

2017, Plaintiff withdrew the action. Id.

       On August 29, 201 7, a hearing was held before the L&I Board on Plaintiffs

appeal. Id., Ex. G (L&I Hearing Transcript). Following a hearing, the L&I Board
                                                 l
affirmed the City's violation determination and denied Plaintiffs appeal. Id., Ex.

0 (L&I Notice of Decision). Plaintiff appealed the L&I Board's decision to the

Court of Common Pleas on September 22, 2017. Id., Ex. K (State Court Docket).

      On February 15, 2018, while the state court appeal was pending, Plaintiff

filed a second preliminary injunction in state court. Id., Ex. P (Petition for

Preliminary Injunction). The issue in the hearing ultimately crystalized into

whether Plaintiff had any proof that the property referred to as 4087 Richmond

Street was included in Plaintiffs deed in the face of the surveyor's sworn

testimony that the deed did not include the property described as 4087 Richmond

Street. Id., Ex. Q at 97:1-5 (Second Preliminary Injunction Hearing Transcript).

Therefore, the court gave Plaintiff the opportunity to submit within a certain

amount of time a supposed supplemental deed from 2015 that Plaintiff claimed

would prove his ownership of 4087 Richmond Street. Id. at 103:20-104:5.

Plaintiff could not provide any proof other than a quitclaim deed he filed with the

court on February 20, 2018, which he purported proved his ownership of 4087


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Richmond Street and to which the City maintained pertained to 4085 Richmond

Street. With this deed now on the record for review, on March 1, 2018, the court

entered an order denying the second preliminary injunction. ECF No. 25, Ex. S

(Order Denying Preliminary Injunction).

      On August 20, 2018, the Court of Common Pleas affirmed the L&I Board's

denial of Plaintiffs appeal after oral argument was held on the matter. Id., Ex. T

(Order Affirming L&I Board's Denial). Plaintiff filed a Motion for

Reconsideration of that affirming order, which was denied. Id., Ex. K (State Court

Docket). Plaintiff never appealed the denial of the state court appeal. Id.

      On October 13, 2018, the City finally enforced the Cease Operations Order

by shutting down the business operating on 4087 Richmond Street. ECF No. 21 at

if 17 (Second Am. Compl.).
      Plaintiff filed a Complaint in this instant action on May 25, 2018, setting

forth no particular counts against Defendants but stating that "Li]urisdiction is

founded upon the Fifth and Fourteenth Amendments of the Constitution of the

United States of America, Title 28 United States Code Section 1343(4), Title 28

United States Code Section 1331 and Title 42 United States Code Section 1983."

ECF No. 1 at if 1 (Compl.). The gravamen of that Complaint alleged that "Gatti

and others with whom he is associated, in addition to the named defendants, caused

deeds to be recorded purporting to convey large portions of plaintiffs property to


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the City of Philadelphia. Leaming of this, plaintiff hired eminent domain counsel

to reconvey to plaintiff[] [s]ome property, but not all, was subsequently

reconveyed to plaintiff." Id. at ,-r 1 lQ).

       Following Defendants' filing of a Motion to Dismiss, Plaintiff filed an

Amended Complaint on July 12, 2018. ECF No. 7 (Am. Compl.). Defendants

again filed a Motion to Dismiss, which was denied. ECF Nos. 9, 10, 11 & 13.

Upon agreement by the parties, Plaintiff filed a Second Amended Complaint on

January 22, 2019, asserting two claims: against Defendants Henon, Abraham, and

Gatti for Conspiracy to Deprive Plaintiff of his Fifth Amendment Rights (Count I),

and against the City of Philadelphia for Violating Plaintiffs Fifth Amendment

Rights (Count II).

III.   Standard of Review

       Pursuant to Federal Rule of Civil Procedure 12(b)(l), a complaint or

portions of a complaint may be dismissed for lack of subject matter jurisdiction.

Fed. R. Civ. P. 12(b)(l). A motion to dismiss for lack of subject matter

jurisdiction may be brought at any time and may either ( 1) "attack the complaint

on its face," or (2) "attack the existence of subject matter jurisdiction in fact, quite

apart from any pleadings." Mortensen v. First Fed. Sav. and Loan Ass 'n, 549 F.2d

884, 891 (3d Cir. 1977).

       Facial attacks "do not challenge the Complaint on its factual record but


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instead contend that the pleadings fail to present an action within the court's

jurisdiction." Isaacs v. Trustees ofDartmouth Coll., No. 13-5708, 2014 WL

4186536, at *6 (E.D. Pa. Aug. 25, 2014), ajf'd sub nom. Isaacs v. Arizona Bd. of

Regents, 608 F. App'x 70 (3d Cir. 2015) (citing Mortensen, 549 F.2d at 891)

(citations omitted). "In that case, as there is no challenge to the factual record, the

district court must accept as true the allegations within the Complaint and is

limited to considering only the Complaint and its attached documents." Id.

(citations omitted).

      In the second type of Rule 12(b)(l) motion, attacking the existence of

subject matter jurisdiction in fact, the court does not presume that the allegations in

the plaintiffs complaint are true, and "the trial court is free to weigh the evidence

and satisfy itself as to the existence of its power to hear the case." Id. In such a

case, "the court can consider affidavits attached to the moving papers or even

require such affidavits to be submitted." New Hope Brooks, Inc. v. Farmer, 82 F.

Supp. 2d 321, 324 (D.N.J. Jan. 13, 2000) (citing Growth Horizons, Inc. v.

Delaware County, Pennsylvania, 983 F.2d 1277, 1281 n.4 (3d Cir. 1993)).

      While Defendants purport to bring a facial challenge to the Second

Amended Complaint, ECF No. 25 at pg. 20, Defendants contend that "no

presumptive truthfulness attaches to plaintiffs allegations and the existence of

disputed material facts will not preclude the trial court from evaluating for itself


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the merits of the jurisdictional claims" and rely upon a myriad of documents in the

public record attached to their moving papers to support their argument, id.

Accordingly, the Court will consider Defendants' motion as challenging this

Court's jurisdiction as a matter of fact.

       The plaintiff has the burden of proving that the court has subject matter

jurisdiction. Mortensen, 549 F .2d at 891. If a court lacks subject matter

jurisdiction, it must dismiss the case without prejudice. In re Orthopedic "Bone

Screw" Products Liability Litigation, 132 F. 3d 152 (3d Cir. 1997).

IV.    Discussion

      "The Rooker-Feldman doctrine prevents 'inferior' federal courts from

sitting as appellate courts for state court judgments." In re Knapper, 407 F.3d 573,

580 (3d Cir. 2005) (citation omitted). Essentially, the "Rooker-Feldman doctrine

prohibits District Courts from adjudicating actions in which the relief requested

requires determining whether the state court's decision is wrong or voiding the

state court's ruling." Id. (citation omitted). "Thus, a claim is barred by Rooker-

Feldman under two circumstances; first, ifthe federal claim was actually litigated

in state court prior to the filing of the federal action or, second, if the federal claim

is inextricably intertwined with the state adjudication, meaning that federal relief

can only be predicated upon a conviction that the state court was wrong. In either

case, Rooker-Feldman bars a litigant's federal claims and divests the District


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Court of subject matter jurisdiction over those claims." Id. (citation omitted).

        As Defendants argue, the Court of Common Pleas declined Plaintiff's

requests to overturn the L&I Board's decision to enforce the second cease

operations order as to 4087 Richmond Street because Plaintiff was unable to

establish ownership over the property in question, just as the state court did in

denying Plaintiffs second preliminary injunction after reviewing the evidence that

Plaintiff maintained proved his ownership of 4087 Richmond Street, the quitclaim

deed.

        Remarkably, in its response to the City's statement that the property in

question is owned by the City, and for the first time in this proceeding, Plaintiff

raises the issue of adverse possession, which he never addressed before and has yet

to address even at the state court level. Plaintiff now asks this Court to not only

review and reverse state court decisions, but to do so based on a new theory put

forth by Plaintiff for the first time during this years-long litigation: adverse

possession. ECF No. 28 at pg. 2.

        In other words, Plaintiffs response essentially says that even if Plaintiff

does not in fact own the property identified as 4087 Richmond Street and even if

the state court's determinations were in fact accurate, this Court should afford him

another bite of the apple based on this new theory that he actually acquired

ownership of the property in question by way of adverse possession. Thus, this


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issue has not only been litigated over and over again in previous state court

proceedings, but granting the relief sought by Plaintiff would necessarily require

the Court to find that the state court was wrong a number of times even after

Plaintiff has essentially admitted those determinations were indeed correct. The

Rooker-Feldman doctrine bars this Court from making the very determinations

Plaintiffs Second Amended Complaint seeks this Court to make. Because this

Court does not have subject matter jurisdiction over this matter, it will be

accordingly dismissed.

V.    Conclusion

      For the foregoing reasons, Defendants' Motion to Dismiss Plaintiffs Second

Amended Complaint (ECF No. 21) will be granted. An appropriate Order follows.




DATED:                                         BY THE COURT:




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